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          EXHIBIT 38
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          Mayor de Blasio Announces "Smaller, Safer,
          Fairer: A Roadmap to Closing Rikers Island"
          June 22, 2017

          The de Blasio Administration is launching a roadmap, a Justice Implementation Task Force,
          and $30 million in new investments to drive progress towards closing Rikers Island

          NEW YORK—Mayor Bill de Blasio today launched “Smaller, Safer, Fairer: A Roadmap to Closing
          Rikers Island,” 18 concrete steps the City is taking now to make it possible to close Rikers Island and
          replace it with a smaller network of modern, safe, and humane facilities.

          “New York City is at the forefront both of ending mass incarceration and reducing crime – we have the
          smallest rate of incarceration of any big city in the country and crime continues to drop,” said Mayor
          de Blasio. “Closing Rikers Island is a continuation of this important work. We are building a
          correctional system that is smaller, safer and fairer – one in which jails are safe and humane.”

          The Roadmap released today includes an additional $30 million investment over the next three years
          to accelerate safe reductions in the size of the jail population. Additionally, the plan includes
          immediate steps to expand services and renovate facilities to ensure that those who work and are
          incarcerated in city jails have safe, humane conditions as quickly as possible. Simultaneously, the
          City will begin the multi-year process of renovating and developing off-Island facilities. The complete
          Roadmap, along with opportunities to get involved, is available at nyc.gov/CloseRikers.

          There are an average of 9,400 people per day in city jails in 2017, 50% fewer than in 1990 and 18%
          fewer than when Mayor de Blasio took office. Because existing borough-based facilities have the
          capacity to house only approximately 2,300 people, there is no immediate way to close Rikers Island
          safely and house the population off-Island. Expanding the capacity in the boroughs while
          simultaneously implementing a series of strategies to significantly reduce the jail population to a
          manageable level will take time. Existing jails on and off Rikers Island will need renovations and
          physical upgrades, as well as expanded programs and services to support the thousands of staff and
          incarcerated individuals in the jails every year.


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          To ensure effective implementation of the Roadmap, the City is launching a Justice Implementation
          Task Force chaired by Elizabeth Glazer, Director of the Mayor’s Office Criminal Justice, and Zachary
          Carter, Corporation Counsel of the City of New York. The Implementation Task Force will coordinate
          the work of the many groups inside and outside of government, including government agencies,
          service providers, and community representatives, that are vital to achieving a smaller, safer and
          fairer jail system. Working groups will focus on safely reducing the jail population; improving culture
          for both staff and incarcerated individuals; and designing and siting safe, modern and humane jails.
          The Executive Steering Committee and Sub-Committee Co-Chairs are listed at the end of this
          release; additional appointments to the working groups are in progress.

          “Our foundational goal is safely reducing the number of people in jail,” said Elizabeth Glazer,
          Director of the Mayor’s Office of Criminal Justice. “This is a matter of justice and pragmatism: no
          one should be detained who does not pose a risk to public safety and a smaller population will permit
          more options in designing places that will enhance safety and promote respect and opportunity for
          both officers and incarcerated individuals.”

          “Given its current inmate population, Rikers must serve as mental health facility, a substance abuse
          treatment facility and for many, a public school,” said Zachary Carter, the City’s Corporation
          Counsel. “Reducing the population at Rikers will require the participation of experts from disciplines
          beyond the criminal justice system. The composition of this Implementation Task Force offers the
          promise of finding sustainable solutions to the problem of over-reliance on incarceration in our
          criminal justice system.”

          “During my time as Commissioner I am proud to have laid the groundwork for creating a more
          humane correctional system for staff, inmates and all New Yorkers,” said Department of Correction
          Commissioner Joseph Ponte. “Our meaningful reforms have well positioned the Department for the
          road ahead to smaller, safer, fairer Jails.”

          SMALLER

          The Roadmap lays out a strategy to reduce the size of the average daily jail population by 25%, to
          7,000, over the next five years. To accelerate progress toward this goal, the Mayor today announced
          a three-year, $30 million investment in four new strategies:

               Expanded pre-trial diversion for people with behavioral health needs: The City is investing
               an additional $2.3 million per year to expand Supervised Release, a citywide alternative to bail
               program that has effectively diverted 3,800 people from jail since launching in March 2016. The
               new investment will enhance services for people with behavioral health needs, including
               additional masters-level clinical social workers and peer specialists, as well as increase by 10%
               the number of people who can be diverted from jail through Supervised Release every year.
               Community alternatives to jail sentences less than 30 days: Beginning in July, the City will
               invest $3.5 million per year in new programs in the Bronx, Brooklyn and Manhattan to reduce
               dramatically the number of people held in jail on sentences of less than 30 days. By offering
               effective programs, judges will have the option to assign individuals to short-term programs that
               can include community service, transitional employment, case management, and behavioral
               health treatment, providing instead a pathway to stability and self-sufficiency and preventing
               future returns to jail.
               Expanding alternatives to jail for homeless women: Beginning July 1, 2017, the City will



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               invest $2.5 million per year to support a program focused on reducing the number of women in
               city jails. Every year, approximately 510 women are admitted to city jails who report they
               are homeless. This new program will offer transitional housing to women who are homeless to
               make it easier for them participate in alternative to jail programs, many of which require
               permanent housing as a requirement for eligibility.
               Reducing the number of people detained on low bail: Expanded diversion programs and
               strategies to make it easier to pay bail have already reduced the number of people detained in
               city jails on bail of $2,000 or less by 36% over the last three years. To reduce this number
               further, the City is investing $490,000 per year to add 50 percent more capacity to the “bail
               expediters” program citywide, expanding from 16 to 24 full-time staff. Bail expediters help
               families pay bail before their relative enters jail by contacting family members to let them know
               bail has been set and ensuring that defendants are held at the courthouse so that their families
               have an opportunity to post bail. Additionally, the City will continue efforts to make it easier to
               pay bail, including rolling out online bail payment later this year, and has recently launched a
               citywide charitable bail fund in partnership with the City Council.

          These new strategies add to already existing initiatives to reduce case delay and decrease the
          number of lower-risk people who enter city jails. These initiatives, detailed in the Roadmap, have
          already helped to shrink the city jail population by 18% over the last three years and will continue to
          drive declines over the next several years. Additional information about recent declines in the jail
          population can be found here.

          SAFER

          The Roadmap lays out a plan to ensure that everyone who works and is incarcerated in city jails is in
          a safe, humane, and productive environment as quickly as possible. Key strategies include:

               Repairing existing facilities over the next five years: The City will continue to make long-
               needed physical improvements to existing jails on and off Rikers Island, which will help to
               accommodate new reentry and educational programs, maximize fire safety, expand air
               conditioning, make necessary repairs of heating and ventilation systems and support essential
               functions such as food service and healthcare facilities.
               Expanding dedicated housing designed for individuals with serious mental illness: Over
               the next five years, the City will triple the number of dedicated mental health units that have
               been shown to reduce violence and improve clinical outcomes.
               Enhancing officer safety: The City has allocated $100 million for a new Department of
               Correction Training Academy to provide training that equips all recruits with the tools necessary
               to become successful officers, and ongoing professional development opportunities for in-
               service staff. Additionally, the City will provide officers with a revamped, modern training
               curriculum in the Academy and enhanced skill-based training for officers already on the job
               Improving transparency, accountability, and safety in all jails through technological
               upgrades: The City will have full camera coverage in all facilities by the end of 2017, will pilot
               an improved electronic grievance system to ensure that incarcerated individuals can report and
               resolve issues and requests for services and will implement a new technology tracking tool to
               enable the provision of services to incarcerated people.

          The Department of Correction will carry out this work utilizing the more than $1 billion in funding that
          the Administration has added to its capital plan over the last three years. The City’s complete plan is



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          available in the Roadmap.

          FAIRER

          The Roadmap lays out a plan to create a productive culture inside jail that fosters the wellbeing of
          staff and those incarcerated. Key strategies include:

               Preventing future returns to jail through expanded programming and reentry planning:
               By the end of 2017, the City will offer reentry planning to every incarcerated person starting
               when they enter the jails as well as a minimum of five hours of educational, vocational, and
               therapeutic programming per day. Transitional specialists will help people transfer educational
               credits earned in jails, leverage skills or certificates obtained in jail to land employment after
               release, and connect people to public benefits and services.
               Jails to Jobs: All people leaving jail after serving a city sentence will be offered placement in
               the Jails to Jobs program. Through this program sentenced individuals will be paired with a peer
               navigator to assist with the transition back into the community, paid transitional employment
               after leaving jail to help with securing a long-term job, as well as career advancement support.
               Reducing isolation and fostering connections to the community: The City will improve the
               visiting process by allowing for longer in-person visits, renovating visit areas, and piloting a new
               expedited transportation option to Rikers Island.
               Further developing and refining alternatives to punitive segregation: The City has already
               reduced punitive segregation by approximately 90% over the last three years, including by
               eliminating it for all incarcerated people under the age of 22. The City will continue to develop
               and refine alternative housing options to punitive segregation that can safely house people who
               commit acts of violence without subjecting them to extensive periods of isolation.
               Prioritizing staff wellbeing and professional development: The City will expand support
               services for correctional officers, including the Correction Assistance Response for Employees
               (CARE) Unit, a division that addresses the personal and family issues of uniformed and non-
               uniformed staff. The City will also implement the DOC Injury Treatment Service so officers who
               are injured on the job will have a dedicated clinic inside every facility by the end of 2018.

          These strategies build on over $90 million in new investments under this administration to expand
          supportive services for correctional officers and incarcerated individuals. The complete plan to
          improve the culture inside city jails is detailed in the Roadmap.

          Justice Implementation Task Force Steering Committee

          Ana M. Bermudez, New York City Department of Probation Commissioner
          Stanley Brezenoff, Interim President and CEO of NYC Health + Hospitals
          Richard A. Brown, District Attorney for Queens County
          Darcel D. Clark, District Attorney for Bronx County
          Carmen Fariña, New York City Schools Chancellor of the New York City Department of Education
          Eric Gonzalez, Acting District Attorney for Kings County
          David Hansell, Commissioner of the New York City Administration for Children’s Services
          Seymour W. James, Jr., Attorney-in-Charge, Criminal Practice of the Legal Aid Society in New York
          City
          Judge Lawrence K. Marks, Chief Administrative Judge of the State of New York
          Michael E. McMahon, District Attorney for Richmond County
          James O’Neill, Commissioner of New York City Police Department


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          Joseph Ponte, Commissioner of New York City Department of Correction
          Cyrus Vance, Jr., District Attorney for New York County

          Working Group on Safely Reducing Size of the Jail Population Co-Chairs
          Honorable Joseph Zayas, Administrative Judge for Criminal Matters, Eleventh Judicial District of the
          State of New York
          Hazel Jennings, Bureau Chief of Facility Operations for the New York City Department of Correction
          Elizabeth A. Gaynes, Executive Director of the Osborne Association
          Karen Shaer, First Deputy Director of the Mayor’s Office of Criminal Justice

          Working Group on Culture Change Co-Chairs
          Soffiyah Elijah, Executive Director of Alliance of Families for Justice
          Julio Medina, Executive Director and Chief Executive Officer of Exodus Transitional Community, Inc.
          Jeff Thamkittikasem, Chief of Staff at New York City Department of Correction

          Working Group on Design Co-Chairs
          Stanley Richards, Board Member of the New York City Board of Corrections and Senior Vice
          President at The Fortune Society, Inc.
          Feniosky Pena-Mora, Commissioner of the New York City Department of Design and Construction
          Rosalie Genevro, Executive Director of The Architectural League of New York
          Purnima Kapur, Executive Director of New York City Department of City Planning

          Research and Learning Advisory Group
          Jeremy Travis, President of John Jay College of Criminal Justice and the former Director of the
          National Institute of Justice
          Bruce Western, Daniel and Florence Guggenheim Professor of Criminal Justice, Harvard Kennedy
          School
          Emily Wang M.D., M.A.S., Assistant Professor at the Yale School of Medicine and Co-Founder of the
          Transitions Clinic Network

          "As the largest alternative-to-incarceration in New York City, on any given day the Department of
          Probation supervises a sentenced population of more than twice the incarcerated jail population. I
          look forward to leveraging our experience as a nationally-recognized justice programs innovator --
          identifying new opportunities to safely reduce the number of people in jail and expanding community
          supervision as an effective response to criminal behavior for both justice-involved individuals and
          communities. We are proud to be called upon as part of this historic effort to further equity and justice
          in our great City,” said Department of Probation Commissioner Ana M. Bermúdez.

          New York City Administration for Children’s Services Commissioner David Hansell said, “ACS’
          robust partnership with Probation and the Courts has led to a sharp decrease in the number of youth
          in detention over the past five years. We’ve realigned our Juvenile Justice policies to prioritize safe
          alternatives to placement. Without a doubt, New York City has been at the forefront of this national
          transformation, and our aggressive reforms continue as we implement Close To Home, a program
          that utilizes community-based residences and prioritizes the supportive networks that keep youthful
          offenders connected their families. Today, we join our administration colleagues in taking the next
          step in this bold and progressive vision through committing to expand alternatives to jail, close Rikers
          Island, and replace it with a new system built on our shared values.”

          “As one of the nation's largest providers of medical and mental health care for incarcerated persons,


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          NYC Health + Hospitals’ Correctional Health Services is an essential partner in the Mayor’s efforts to
          create new avenues for diversion, reduce recidivism, and decrease the overall jail population,” said
          Stanley Brezenoff, interim President and CEO of NYC Health + Hospitals. “We are committed to
          working with the city, state, and community to continue to provide high quality health care in our City’s
          jails and ensure the uninterrupted provision of care no matter where our patients might be housed.”

          Bronx District Attorney Darcel D. Clark said, “I am pleased to do anything that stems the violence
          at Rikers Island. I am in favor of reducing the jail population as long as it doesn’t compromise public
          safety. We need to focus on those accused of serious crimes who pose a threat to the community,
          and divert those who do not need to be incarcerated, and Mayor de Blasio’s roadmap provides
          concrete steps toward those goals. I believe that a modern, professional training academy for
          Correction Officers will renew their pride and give them the respect they deserve.”

          Manhattan District Attorney Cyrus R. Vance, Jr., said: “We have achieved historic advances in
          public safety in New York City, yet Rikers Island stands in contrast to this remarkable legacy. We
          cannot allow a seat of systemic abuse like Rikers to continue to exist. In order to successfully
          implement the plan to close Rikers Island, there needs to be buy-in from actors across the criminal
          justice system: from police, to prosecutors, to corrections officials. And importantly, programs
          essential to achieving a reduction in detention must be adequately funded. The Manhattan District
          Attorney’s Office has laid the groundwork for this by contributing significant funding to the city’s
          supervised release and mental health initiatives, the state’s college-in-prisons programming, as well
          as millions for innovative diversion and reentry initiatives citywide. I commend the Mayor for his
          commitment to this ambitious plan.”

          Acting Brooklyn District Attorney Eric Gonzalez said, “This plan creates a promising framework
          towards our goal of closing Rikers and enhancing fairness and humanity in the justice system by
          preserving public safety without relying on incarceration alone. In Brooklyn, we have recently put in
          place a new bail policy under which nearly all misdemeanor defendants are released without bail and
          many others participate in a supervised release program. We have also embraced innovative
          strategies that provide fair and effective alternatives to imprisonment, including Mental Health Court,
          our Young Adult Court, and will soon offer certain drug offenders the option of engaging in treatment
          without ever going to court. I look forward to working with all the partners who are taking part in this
          effort to see that this plan is implemented successfully."

          "Closing Rikers Island is an idea whose time has come," said Manhattan Borough President Gale
          A. Brewer. "The steps being announced today will take the city toward a smaller, safer and more
          humane corrections system."

          “For far too long, both inmates and corrections officers at Rikers Island have lived through an
          untenable situation,” said U.S. Representative Joe Crowley. “Shutting down this outdated facility in
          favor of smaller, more modern and humane facilities is a complex endeavor but the absolute right
          thing to do. The process will be long and difficult, but I applaud Mayor de Blasio for putting forth a
          sensible roadmap that will get us there. It is heartening to see a groundswell of support both in
          government and in our communities for achieving this long-sought goal and I look forward to working
          with the City on ways to better deal with our inmate population not just in the long-term but in the
          short term – as we continue efforts to address mental health issues, disciplinary issues, and
          engagement between officers and inmates.”

          U.S. Representative Eliot Engel said, “The problems at Rikers Island are symptomatic of the issues


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          facing our criminal justice system as a whole. The island has become a symbol of dysfunction and the
          City is right to begin taking these proactive steps to close it down. This will not be an easy process,
          nor will it happen overnight. Closing a facility of this nature will require time, careful planning,
          transparency, and a great deal of input from the community. The City’s ‘Smaller, Safer, Fairer: A
          Roadmap to Closing Rikers’ appears to encompass all of those vital elements, while seeking to bring
          together and engage with stakeholders from across NYC. This type of comprehensive approach is
          what’s needed to close Rikers in a thoughtful way.”

          “I have long called for the closing of Rikers Island, due to its abysmal record of prisoner mistreatment
          and long history of violence,” said U.S. Representative Jerrold Nadler. “We need to ensure our
          corrections system reflects the progressive values we hope to promote and uphold in New York,
          including expanding bail and reducing the number of people incarcerated while awaiting trial. Rikers
          Island has been a failure in this respect, and I applaud Mayor de Blasio for moving forward on his
          promise along with Speaker Viverito who has long championed this issue.”

          “Rikers Island is an 18th century solution to a 21st century problem, complicating prisoners’ rights to a
          speedy trial, limiting families’ ability to visit incarcerated loved ones, and saddling the City with an
          exorbitant financial burden in order to continue its operation,” said U.S. Representative Adriano
          Espaillat. “For decades, Rikers has been a stain on the City’s conscience, and I am relieved to
          finalize its shutdown and bring forward Mayor de Blasio’s solution for smaller, safer, fairer, and more
          humane jails across the City.”

          "Rikers Island has become a moral and economic burden for our City. Too many New Yorkers have
          been left stranded indefinitely there awaiting trial while being subjected to inhumane conditions and
          costing our City millions in taxpayer dollars,” said State Senator Gustavo Rivera. "I applaud our
          City's administration for creating a roadmap that will put an end to a place that is unjust, inefficient
          and costly, while taking essential steps to end mass incarceration. I look forward to working with the
          city to expeditiously implement these steps and close Rikers Island as soon as possible."

          Assembly Member Jo Anne Simon said, “Closing the modern day penal colony of Rikers Island is
          an effort whose time has come. From its remoteness to its facilities, Rikers is not good for our City
          and not just for its people. If we are to have a more humane criminal justice system, we must
          implement the reforms that were recommended in the Commission’s report and work towards a jail
          system that is smaller, safer, and fairer. This process will not be easy, but Brooklynites have good
          heads and good hearts and that is what we will need to change Rikers from a symbol of despair and
          violence to one of justice and humanity. I look forward to ongoing dialogue with the Mayor, the
          community, and criminal justice experts to improve our current system.”

          "I am pleased the Mayor is committed to closing Rikers Island, a jail that remains a blight on our city. I
          have long been for the responsible, safe and secure closure of this jail where young people are held
          too long, and human rights are violated. I am committed to working at the state level to build a
          criminal justice system that works for all, and that keeps our city safe; to have one does not mean an
          absence of the other. Accordingly, closing Rikers is one step towards a more responsible and
          equitable criminal justice system – but it is an overdue and necessary one, and I applaud the Mayor
          for his leadership," said Assembly Member Walter Mosley.

          “As a long-time proponent of criminal justice reform, I am very impressed with the goals Mayor de
          Blasio has set in this plan -- with the funding to back them up. This is a realistic plan that can bring
          about historical reforms,” said Assembly Member Luis Sepulveda, Chairman, Subcommittee on


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          Transitional Services.

          “With Kalief Browder and a string of other high-profile and controversial incidents at Riker's Island I
          am happy to hear of its doors closing," said Assembly Member Rodneyse Bichotte. "Based on the
          report released by an independent commission, chaired by Judge Jonathan Lippman, Chief Judge of
          the NYS Court of Appeals, the Mayor's plan to reduce the population to 5000, and eventually close
          Riker's in 10 years is feasible. I appreciate the thought, energy and effort that has been put into this
          plan, and I am confident in the ongoing efforts and dialogue to address all the critical factors that will
          impact so many lives.”

          "As the entire nation watches New York City take the lead in the movement for criminal justice reform,
          I thank the Mayor for committing to transparency and accountability as we move closer towards the
          goal of closing Rikers," said Council Member Margaret S. Chin. "Through this new roadmap,
          taskforce and website, the public will be updated on developments in real time and will be able to hold
          the City accountable to its promise. Measures like these serve as necessary steps to ensure that New
          York City continues to be the model for progress and justice for the rest of the country, and the rest of
          the world."

          “Closings Rikers is an important step in the long fight to end mass incarceration,” said Council
          Member Ritchie Torres, Chair of the Black, Latino, and Asian Caucus. The success of the
          #CLOSErikers campaign signals that New York is ready for further criminal justice reform. I
          appreciate the work that the Mayor, advocates and elected officials have put forth in this process, and
          recognize that we have arduous work ahead of us to fix our broken system.”

          "For far too long the legacy of Rikers Island has been irredeemable. The facility exemplifies the
          scourge that is mass incarceration in this country,” said Council Member Robert Cornegy, co-chair
          of the Black, Latino, and Asian Caucus. “I commend the Mayor for laying out a clear,
          comprehensive plan to close Rikers Island and look forward to the day when the facility is finally shut
          down. In the meantime, I will work with my colleagues in government to ensure the City remains
          committed to treating those who are detained on Rikers Island with dignity and respect, and
          implement solutions that enable detainees to access sorely needed services."

           "The horror stories about Rikers Island are endless and heartbreaking, which is why creating a
          smart, well-thought out plan with all stakeholders at the table is one of the most crucial policies we
          can work on as a city," said Council Member Donovan Richards, co-chair of the Progressive
          Caucus. "Tough decisions will have to be made and decades of neglect will not be solved overnight.
          With every major leader in the city on board, there is no better time than now to address the vast
          amount of issues that have plagued our city's jail system. I'd like to thank Mayor de Blasio, Speaker
          Mark-Viverito, Comptroller Stringer, Judge Lippmann, my City Council colleagues and all of the
          advocates from the Close Rikers campaign."

          "Immigrants, communities of color and low-income people are among those most disadvantaged in
          our criminal justice system,” stated Council Member Carlos Menchaca. “They must help guide our
          plans to make incarceration in New York City more fair. The key factor in closing Rikers is a significant
          reduction of our total jail population. Measuring progress with public access to Department of
          Correction data is a good step. But reducing the number of people being held will only be
          accomplished through collaboration with the service organizations and individuals who best
          understand our jail system."



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          "Closing Rikers is a moral imperative--there’s simply no way to get to a fairer, more humane, and
          more effective criminal justice system without a fresh start. But actually getting it done will require a
          sustained commitment. I applaud the Mayor for putting a plan in place to get us there and, perhaps
          most importantly, for establishing a means by which the City can hold itself accountable as it acts on
          that plan," said Council Member Helen Rosenthal.

          Council Member Ydanis Rodriguez said, "Since my first day at the Council, I have been interested
          in finding solutions to curb the violence and injustice that permeates Rikers Island. The effort to finally
          close this facility will brighten the lives of so many marred by its deeply seated troubles. I applaud this
          first step in the process as well as all who have taken us to this point. This is a step in the right
          direction that can move the conversation forward on reforming our criminal justice system in New
          York City and hopefully move us away from the mass incarceration that has become a vicious cycle
          for too many communities. Mayor Bill de Blasio, Speaker Melissa Mark-Viverito and my many
          colleagues who have been champions alongside me on this issue deserve real credit, as do the many
          activists who have sparked a real change."

          Council Member Corey Johnson stated, “For too long, the conditions at Rikers Island have been far
          beneath the dignity of our City," Said Council Member Corey Johnson, Chair of the Committee on
          Health. "By committing to close this facility, we are acting in line with our values and moving New York
          in the direction of greater fairness and justice. I applaud Mayor de Blasio for putting forth the concrete
          steps we need to take in order to make our criminal justice system safer and more just."

          "New York City can and will do better than Rikers Island.For far too long we've allowed the
          unspeakable to go on at this jail,” said Council Member Ben Kallos. "As a City we must be united
          and transparent in the much needed reforms coming ahead for the facility and those detained there.
          Thank you to Mayor Bill de Blasio for support and leadership to finally closing Rikers Island."

          Judge Jonathan Lippman, chair, Independent Commission on New York City Criminal Justice
          and Incarceration Reform said, "I applaud the Mayor for taking these critical steps to deliver on the
          promise of permanently ending the horrors of Rikers Island. It has been an accelerant of human
          misery for decades and nothing but an impediment to serving justice and public safety in our City. Our
          commission's report detailed a roadmap for safely closing Rikers to build a more just system and we
          are extremely proud the Mayor is building on that work."

          "Closing the jails on Rikers Island is an important milestone in the work to improve fairness in New
          York City's criminal justice system," said Jeremy Travis, President of the John Jay College of
          Criminal Justice. "New York City has already made great strides in reducing crime and
          incarceration, and I look forward to working with the Justice Implementation Task Force to reduce
          both even further as we implement the plan to close Rikers Island."

          "I applaud Mayor de Blasio for his commitment to closing the jails on Rikers Island and continuing to
          move the city toward a more just correctional system," said Herbert Sturz, Board Chair of the
          Center for New York City Neighborhoods. "I have long been committed to enhancing the fairness
          of the criminal justice system and look forward to working with the City to ensure that we effectively
          implement the ambitious and important plan announced today."

          Osborne Association President and CEO Elizabeth Gaynes said, “As an organization whose
          mission includes both alternatives to jail and prison, and the transformation of corrections facilities for
          those who live in them, work in them, and visit them; whose previous director, Austin MacCormick,


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           was the commissioner of the NYC Department of Correction under Mayor Fiorello LaGuardia, we
           recognize the importance of the plan to both reduce the jail population and to move detained
           individuals to purpose-built facilities closer to courts and visitors. At the same time, as the Osborne
           Association has provided services in city jails continuously for more than three decades, we
           recognize that this goal will take at least a decade to achieve, during which time hundreds of
           thousands of our fellow New Yorkers will be living and working on the Island. We appreciate the City’s
           commitment to remain focused on current conditions of confinement, ensuring that violence is
           reduced, that programs are provided to prepare people to return to their communities, and that the
           trauma of people who are detained, incarcerated, and employed by our corrections system is reduced
           and addressed. We are grateful for the opportunity to participate in the Justice Implementation Task
           Force, and for the Mayor’s acknowledgment that if we fail to tackle these challenges in the current
           environment, they will simply be exported to a new location.”

           JoAnne Page, President and CEO of the Fortune Society, said "For 50 years, Fortune has
           worked, through advocacy and services, to reduce the number of people incarcerated, to improve
           conditions of confinement, and to help people transition successfully from incarceration. We strongly
           support the Roadmap to Close Rikers Island, which commits to investment and progress in all three
           areas. In addition, we commend the Mayor and his team for including formerly incarcerated
           individuals in leadership in this effort, including Julio Medina and our own Stanley Richards."

           Stanley Richards, Executive Vice President of the Fortune Society said, “I am deeply grateful to
           the Mayor for this appointment as Co-Chair of the Implementation Task Force. His visionary plan to
           close Rikers is perhaps the most important step we can take to re-shape New York City’s criminal
           justice system. Replacing Rikers with a network of smaller and safer facilities will create supportive
           environments that will offer positive options for the thousands of men and women who are jailed in
           New York City every year. At The Fortune Society, we know that expanding pre-trial diversion,
           providing alternatives to incarceration and offering strong community-based education and career
           training programs reduces recidivism and makes our communities safer. As someone, who as a
           young man, was incarcerated on Rikers Island, this is a very personal and emotional moment for me.
           I am humbled to be part of this historic initiative and proud to support the Mayor’s commitment to
           build a City rooted in justice, fairness and equality for all.”

           "Smaller, safer, and fairer. Those values have driven the tremendous gains New York City has made
           in recent years to become the safest big city in America,” stated Nicholas Turner, President, The
           Vera Institute of Justice. “Over two decades, criminal justice reform in New York City has led to a
           55% drop in the number of people held in jail while lowering crime by 58%. Those are remarkable
           wins. But we cannot stop there. Even though New York City is already an exemplar of the principle
           that more jail does not equal more safety, there is much more to be done to make sure our justice
           system promotes safety for all. We must prevent New Yorkers from unnecessarily remaining in jail
           because of unaffordable bail and long court delays; create facilities that are safe, modern, and
           supportive for both those who work and are incarcerated there; and invest in building healthier,
           stronger communities across our entire city. Mayor de Blasio’s ten-year plan towards closing Rikers
           Island brings us closer to these goals. Vera looks forward to supporting the Mayor’s Office and the
           Justice Implementation Task Force in working towards a justice system that is even smaller, even
           safer, and even more fair."

           "The Mayor's actions to phase out Rikers Island are the first step toward closing a jail that has
           become an embarrassment to our city," said Kathryn Wylde, President and CEO of the



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           Partnership for New York City.

           "It is encouraging to see Mayor de Blasio's commitment to closing Rikers Island and now having a
           roadmap in place to do so," said MaryAnne Gilmartin, President and Chief Executive Officer of
           Commercial and Residential Development at Forest City Ratner Companies. "We will continue
           working towards the shared goal of creating a stronger, safer New York, one without this international
           symbol of injustice."

           “The report of the Lippman Commission on the need for comprehensive criminal justice reform
           established that: (1) the lives of too many New Yorkers and their families were being destroyed by
           excessive, unnecessary, and inappropriate pretrial detention; and (2) the pretrial detention population
           of Rikers Island could be reduced without increasing risk to the City's residents and visitors. By
           adopting many of the Commission's findings and now creating an oversight structure to ensure
           implementation of responsible reform, including closure of Rikers Island within the next ten years,
           Mayor de Blasio is leading the City toward a more humane criminal justice system,” said Colvin W.
           Grannum, President and CEO, Bedford Stuyvesant Restoration Corporation.

           "Today, we move forward to a new chapter and era on how we approach justice. The continued
           collaboration of many experts in the field have led us to the creation of the transformational blueprint
           ‘SMALLER, SAFER, FAIRER: A ROADMAP TO CLOSING RIKERS ISLAND.’ I am proud to be a part
           of this innovative Task force and thank the Mayor and his Office of Criminal Justice for taking a stance
           that will lead to the closing of Rikers. And just as important committing the funds that will ensure the
           successful outcome of The Roadmap. We are in unique times and must seize the moment to begin
           implementing change. Not just any change, but change that transcends race, economics, politics and
           ensures safety, transformation, and stability. Thank You Mayor de Blasio for remaining on the cutting
           edge of justice reform," said Julio Medina, Executive Director of Exodus Transitional
           Community, Inc.

           Closing Rikers is a first and necessary step to address the human cost of mass incarceration in our
           city. We commend the Mayor for announcing this plan and hope that it can be implemented as fast
           as possible," said Justine Olderman of The Bronx Defenders.

           “Brooklyn Defender Services has been a strong advocate in favor of closing Rikers Island, a jail that
           is known for deplorable conditions and an extremely violent culture. Most of the residents of Rikers
           are our clients who cannot afford to post bail and are there solely because of their poverty. There are
           many positive steps in this roadmap to reduce the number of pre-trial detentees and individuals in
           jail on short-term sentences, which are welcome changes. We are hopeful that by following the
           roadmap and building upon it over the next few years, Rikers Island will close and we can begin a
           new chapter of humanity, safety and fairness for the accused as soon as possible.” said Lisa
           Schreibersdorf, Executive Director, Brooklyn Defender Services

           "New York has proven that it can reduce crime while reducing its prison population, and that proactive
           justice works. These reforms to decrease incarceration and unnecessary pre-trial detention are the
           logical next step toward a fairer, safer city. We must also now move as quickly as we can to close
           Rikers once and for all and move to a local jail system to ensure a higher standard of justice in our
           city," said Richard Aborn, President of the Citizens Crime Commission.

           Director of the Center for Court Innovation Greg Berman said, "New York City has made
           remarkable progress in recent years, reducing the use of incarceration while keeping crime rates at


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           historic lows. The City's implementation plan for closing Rikers Island seeks to take this work to the
           next level. Rather than resting on its laurels, New York continues to define the leading edge of
           criminal justice reform. The Center for Court Innovation applauds this effort and looks forward to
           working with the Mayor's Office of Criminal Justice to advance the goal of a safer, more effective, and
           more humane justice system, including closing Rikers Island."

           Senior Research Fellow at the Harvard Kennedy School Program in Criminal Justice and
           former New York City Probation Commissioner Vincent Schiraldi said, "Today's announcement is
           one more step in the direction of a safer, fairer and less incarcerated New York City. New York City is
           not only the safest and least incarcerated big city in America, but this plan puts it on the road to
           closing the notorious Riker's island facilities, using city jails more parsimoniously, and creating a safer
           environment for people who work and are incarcerated in the city. The Mayor's Office of Criminal
           Justice is to be commended for involving a broad swath of New Yorkers in working to bring the city's
           plan to fruition."

           “Smaller, Safer, Fairer, builds on the progress the Mayor has made in reducing Rikers’ population and
           will improve conditions for those living and working on Rikers in the short term. We are committed to
           working with the Mayor and the City Council to help close Rikers by diverting people with serious
           mental illness from jail and developing local community justice centers to house and most importantly,
           rehabilitate and retrain those who remain in custody,” said Cheryl Roberts, Executive Director,
           Greenburger Center for Social and Criminal Justice.

           New York County Defender Services Executive Director Stan Germán said, “NYCDS applauds
           the Mayor's plan to close Riker's Island which represents an outdated and discredited approach that
           favors inhumane punishment over rehabilitation. The Mayor's commitment toward smaller facilities
           with greater services and accountability is not only a moral mandate but also in the best interests of
           public safety, crime reduction, and respect for fundamental constitutional rights.”

           Formerly Incarcerated Criminal Justice advocate, Vivian D. Nixon said, "As someone who went
           through the jail system and currently works with women who have cycled in and out of local jails as
           well as state and federal prisons (including Riker’s Island), I am personally aware of the impact that
           the proposed plan will have on youth, men, women, families and communities that have suffered
           during the age of mass incarceration because the current conditions and culture on Rikers Island.
           The Mayor’s plan to work closely with the existing Diversion and Reentry Subcommittee of the
           Mayor’s Office of Criminal Justice to reform bail policy, offer quality diversion programming, provide
           education and employment opportunities to people reentering the community from Rikers, and
           increase gender responsive approaches for women over the next three years will lay the foundation
           for a significant reduction in the number of incarcerated people in city jails overall. Furthermore, it is
           encouraging and prudent to simultaneously address the need to improve the physical conditions of
           the antiquated and unsafe facility and work on a cultural shift regarding the way we treat detainees,
           convicted people, and their families."

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